     Case 2:08-cr-00178-LRS    ECF No. 298   filed 08/05/09    PageID.996 Page 1 of 1




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 5
                               UNITED STATES DISTRICT COURT
 6                            EASTERN DISTRICT OF WASHINGTON
 7
      UNITED STATES OF AMERICA,                 )
 8                                              )    No. CR-08-178-LRS-5
                        Plaintiff,              )
 9                                              )    ORDER SETTING STATUS HEARING
      v.                                        )    AND GRANTING ORAL MOTION TO
10                                              )    MODIFY
      NATALIE J. NIVENS,                        )
11                                              )
                        Defendant.              )
12                                              )

13         At   the   August      4,   2009,    status        hearing,   Defendant      was

14   represented by counsel Timothy Trageser.                 Assistant U.S. Attorney

15   Russell Smoot represented the United States.

16         IT IS ORDERED the Defendant’s oral Motion to modify release

17   conditions (Ct. Rec. 295) is GRANTED as follows:

18         1.    Defendant may attend school with prior permission from the

19   U.S. Probation Office, provided it does not conflict with counseling

20   and/or treatment.

21         2.    Defendant may travel to California.                 Details of travel

22   shall be coordinated with the U.S. Probation Office.

23         IT IS FURTHER ORDERED a status hearing is set for September 28,

24   2009, at 1:30 p.m., before the undersigned.

25         DATED August 5, 2009.

26
27                                 S/ CYNTHIA IMBROGNO
                              UNITED STATES MAGISTRATE JUDGE
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     ORDER SETTING STATUS HEARING AND GRANTING ORAL MOTION TO MODIFY - 1
